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                               EXHIBIT 1
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                                  UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS (BEAUMON1)


  PSARA ENERGY, LTD.,                                                      1:20-cv-00293-MAC

                                             Plaintiff,

                        V.

  SPACE SHIPPING, LTD.; GEDEN HOLDINGS,
  LTD.; ADVANTAGE SPRING SHIPPING, LLC;
  GENEL DENIZCILIK NAKLIYATI A.S. a/k/a
  GEDEN LINES; ADVANTAGE TANKERS,
  LLC; MEHMET EMIN KARAMEHMET;
  GULSUN NAZLI KARAMEHMET-
  WILLIAMS; TUGRUL TOKGOZ; MEHMET
  MAT; FLEETSCAPE SPRING, LLC; and
  FLEETSCAPE ADVANTAGE HOLDINGS,
  LLC,

                                                Defendants.



                         DECLARATION OF CHRISTIAN TOBIAS BACKER
           I, Christian Tobias Backer, under the penalty of perjury under the laws of the United States

  pursuant to 28 U.S.C. §1746, declare the following is true and correct:

           1.       I have been advising Oaktree Capital Management, L.P. ("Oaktree") as a consultant

  since June 2016, and currently hold the title of Senior Advisor for Maritime and Offshore. I also

  hold the title of Senior Advisor at Fleetscape Capital Holdings, Ltd. ("Fleetscape Capital"), an

  investment fund backed by Oaktree which was started in September 2017.

           2.       I am over the age of eighteen, and have personal knowledge of the proceedings

  before this Honorable Court1 wherein Plaintiff Psara Energy, Ltd. ("Plaintiff") attached Defendant



  1
    This action was originally filed in the United States District Court for the Northern District of California under
  docket nwnber 3 :20-cv-04102-WHO, but was transferred to this Honorable Court under docket 1:20-cv-00293-
  MAC on July 7, 2020.


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 Fleetscape Spring, LLC's ("Fleetscape Spring") vessel Mff ADVANTAGE SPRING (the

 "Vessel") wider the provisions of Supplemental Admiralty Rule B.

         3.        I provide this Declaration in support of Fleetscape' s motion for relief and to respond

 to several inaccurate allegations in Plaintiff's Original Verified Complaint. See ECF 1.

     A. The Wholly Unrelated 2013 Dispute between ICON Octavian Center and Center
        Navigation Ltd.

         4.        Prior to joining Fleetscape Capital, I held the position of Managing Director and

 Head of Shipping & Offshore at ICON Investments ("ICON") from April 2009 to March 2016.

          5.       While at ICON, I was tasked with working on an existing shipping portfolio of

 nineteen ships in which ICON had invested. In particular, a majority of those nineteen vessel

 investments were not performing well and I was tasked with finding a solution for those

 investments. I was also tasked with building out a new portfolio of loans and leases to shipping

 companies.

         6.        In or about 2010-2011, ICON entered into two transactions with Defendant Geden

 Holdings, Ltd. ("Geden Holdings") and three of its single purpose entities ("SPEs"), including

 Center Navigation.

          7.       The structure of the transactions involved a sale of one tanker vessel, the Mff

 CENTER, and two bulker vessels, the MN AMAZING and the MN FANTAS TIC, from the three

 Geden Holdings SPEs to three ICON SPEs. Following the sale, each of the vessels was bareboat

 chartered back to the Geden Holdings SPEs.

          8.       In or about 2012, Geden Holdings experienced financial difficulties due to a

 downturn in the shipping market and informed its banks that it would not be able to meet its

 payment obligations and was considering restructuring its capital structure.



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            9.    It is my understanding that the banks asked Geden Holdings to hire a structural

 advisor and, in response, Geden Holdings nominated Alix Partners.

            10.   In or about 2013, one of the ICON SPEs, ICON Octavian Center, LLC ("ICON

 Octavian"), claimed Center Navigation failed to honor obligations it had undertaken under the

 terms of a bareboat charter agreement.

            11.   As a result of this breach, I engaged in discussions with Geden Holding's Chief

 Financial Officer Mehmet Mat about a possible restructuring of the bareboat charter between

 ICON Octavian and Center Navigation.

            12.   In connection with this dispute, on April 18, 2013, Mehmet Mat sent me an email

 stating:

                  My primary purpose of NY visit is to keep the dialogue open with
                  Icon so I'd like to avoid creating a confrontational situation. I have
                  no problem attending to the meeting but I understand the bank is not
                  ready for this for tomorrow.

                  Instead of pushing it, I suggest to have a telcon all together sometime
                  next week.

 See ECF 1-15, Ex. 12 at GH 01010.

            13.    At 10:59 pm that same day, I responded to Mr. Mat's email as follows:

                  Without prejudice, I am afraid that this cannot wait until next week.
                  We do not feel that Geden and - particularly - the banks have been
                  proposing constructive pro-active solutions involving all affected
                  parties to ensure the future viability of Geden long-term. Rather
                  there seems to be a clear attempt to give preferential treatment to
                  one group of creditors over another. This attempt has been going on
                  behind our backs and has several fraudulent conveyance issues and
                  multiple lender liability concerns. However, as much as we would
                  like to prove our rights after the fact in this regard, these actions
                  leave us no choice but to enforce our rights to the full extend
                  available to us.

 See ECF 1-15, Ex. 12 at GH 01009.


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          14.       At paragraph 87 of Plaintiff's Verified Complaint, Plaintiff misleads the Court by

 claiming the sentence "[t]his attempt has been going on behind our backs and has several

 fraudulent conveyance issues and multiple lender liability concerns" in my April 18, 2013 email

 was in reference to the March 6, 2013 Project Hermitage Restructuring Plan by AlixPartners (the

 ..Project Hermitage Restructuring Plan''). See ECF 1-12, Ex. 9. That is not correct. In fact, that

 sentence refers to an unfounded rumor we had heard that Geden Holdings may have been stripping

 assets from the company in order to protect an unrelated bank' s loan exposure.

           15.      While ICON Octavian did not agree to restructure its bareboat charter with Center

 Navigation pursuant to the terms of the Project Hermitage First Restructuring Plan, and

 AlixPartners' advisory contract was terminated in June of 2013, I never stated nor implied that the

 Project Hermitage First Restructuring Plan involved fraudulent conveyance issues and lender

 liability concerns.

           16.      Subsequent to the Project Hermitage Restructuring Plan proposal, several different

 restructuring alternatives were proposed between ICON and Geden Holdings.

           17.      Approximately two months later, on June 21 , 2013, Mr. Mat and I had a telephone

 call in which he proposed a plan to amend the terms of the bareboat charter. Mr. Mat memorialized

 the terms of the proposed plan in an email and I responded later that same day that the proposal

 was a good starting point for further negotiations. See ECF 1-15, Ex. 12 at GH 01007 - 01008.

           18.      In or about August-September 2013, ICON Octavian and Center Navigation

 reached a commercial understanding in order to manage their dispute, but this understanding was

 never reduced to a formal written agreement.




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     B. Geden's proposal to sell certain product tankers

         19.      In January 2014, Mr. Mat sent me an email in connection with anew transaction as

 follows:

                  I thought it would be nice to discuss a new transaction over dinner.

                  We have in mind to establish a Newco for our crude fleet joint
                  venture with new investors with a target to use it as a growth
                  platform and/or a ready to go IPO platform in the mid tenn. The
                  fleet consists of 5 aframax + 5 suezmax which 8 of them are
                  chartered by Shell and 2 of them by ST Shipping. The details are
                  attached.

                  The New Co will acquire the vessels from Geden affiliates at market
                  premium (taking into account the value of the charters) so there will
                  not be any legal concern at Geden level.

                  If interested, please review the attached draft term sheet. I will be
                  happy to discuss whenever is convenient for you.

 See ECF 1-16, Ex. 13 at GH 01280-GH 01286.

         20.      On January 18, 2014, I responded to Mr. Mat and advised the project looked

 interesting and asked a few questions, including "[w]here will the new common equity come

 from?" See ECF 1-16, Ex. 13 at GH 01278.

         21.      On January 20, 2014, in response to my question, Mr. Mat advised "Geden will be

 the shareholder of the New Co." See ECF 1-16, Ex. 13 at GH 01278.

         22.      With respect to this new transaction, I was concerned only with the three vessels

 involved in the sale between the Geden Holdings SPEs and the ICON SPEs, as noted in paragraph

 7 above.

         23.      My focus on this transaction was threefold: i) that the sale would happen at or above

 real fair market value (in which case we could not stop it in any event), ii) to try to get access to




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  the sales proceeds to reduce ICON's outstanding exposure, and iii) to try to get the vessel M/f

  CENTER to be part of the new vehicle.

          24.      After I left ICON in March 2016, ICON sold the vessels MIT CENTER, MN

  AMAZING and MN FANTAS TIC to unrelated third parties.

          25.      I was not involved in and have no knowledge of the transaction involving the sale

  of the eleven vessels from Geden Holdings to Advantage Tankers.

      C. The February 1, 2019 Sale and Purchase from Advantage to Fleetscape

          26.      As noted in paragraph I above, I have been advising Oaktree since June 2016, and

  I helped start Fleetscape Capital in September 2017.

          27.      I was personally involved in the transaction involving the sale of ten vessels from

  SPEs owned by Advantage Tankers to SPEs owned by Fleetscape Capital.

          28.      This was a bona fide transaction for which Fleetscape paid substantial fair market

  consideration for the vessels we acquired.

          29.      The purpose of the sale from Advantage Tankers to Fleetscape was to refinance the

  loan in order to extend debt maturities, which was needed to allow for an extension of the existing

  time charters on all the vessels.

          30.      Fleetscape contributed new cash to refinance the existing lenders at par value. All

  existing lenders fully cooperated with the refinancing and did not object to the terms of the

  Advantage - Fleetscape deal.

          31.      The Advantage - Fleetscape sale and purchase was an at-market deal and not a

  restructuring plan like the Project Hermitage Restructuring Plan in which lenders were expected

  to take a write-down on their exposure.




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           32.        By a Memorandum of Agreement ("MOA'') dated February 1, 2019, Advantage

  Spring Shipping LLC agreed to sell and Fleetscape Spring, LLC agreed to purchase the vessel

  ADVANTAGE SPRING. A 1rue and correct copy of the MOA is attached as Ex. A.

           33.        The purchase price of the vessel was $30,825,000. A true and correct copy of the

  Bill of Sale is attached as Ex. B.

           34.        The purchase price was very substantial and was close to the appraised value of

  $31,000,000 - $32,000,000 for the vessel. A true and correct copy of the January 29, 2019 valuation

  done by Arrow Valuations is attached as Ex. C.

           35.        In connection with the transaction, on February 1, 2019, the parties executed

  various agreements including:

                 i.   Eleven entities, including Fleetscape Spring, as joint and several Borrowers and

                      Hedge Guarantors, entered into a Facility Agreement with Credit Agricole

                      Corporate and Investment Bank relating to the financing of eleven vessels,

                      including the ADVANTAGE SPRING (the "Facility Agreement"). A true and

                      correct copy of the Facility Agreement is attached as Ex. D.

              ii.     Fleetscape Capital, as Subordinated Creditor, executed a Subordination Agreement

                      relating to the Facility Agreement. A true and correct copy of the General

                      Subordination Agreement is attached as Ex. E.

             iii.     Advantage Spring Shipping LLC and Fleetscape Spring, LLC entered into a

                      Seller's Credit Agreement. A true and correct copy of the Seller's Credit

                      Agreement is attached as Ex. F.

             iv.      Fleetscape Spring, LLC, as Buyer, Advantage Spring Shipping LLC, as

                      Subordinated Creditor, and Credit Agricole Corporate and Investment Bank


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                    executed a Subordination Agreement relating to the Seller' s Credit Agreement. A

                    true and correct copy of the Security Subordination Agreement is attached as Ex.

                    G.

             v.     The eleven borrowers, including Fleetscape Spring, the Financial Institutions, and

                    Fleetscape Capital executed a Junior Loan Agreement. A true and correct copy of

                    the Junior Loan Agreement is attached as Ex. H.

          36.      The February 1, 2019 transaction between Advantage and Fleetscape is a sale and

  lease back transaction which is common in the shipping industry and the standard form of

  transaction for most ofFleetscape's deals.

          37.      Contrary to the allegations in the Verified Complaint and, in particular, paragraphs

  90 - 97, I have no knowledge of any fraudulent conveyances of the vessels by Geden Holdings to

  Advantage Tankers or from Advantage Tankers to Fleetscape.

          38.      In my opinion, the transaction were all bona fide and involved payments by

  Fleetscape which reflected the fair market value of the vessels.

          Pursuant to Title 28 of the United States Code, section§ 1746, I solemnly declare under

  penalty of perjury that the foregoing is true and correct.

  Executed on     J!_ August 2020
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                                                        c;,C:;;;; • ~
                                                         Christian Tobias Backer




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